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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 4:06cr48-SPM

ANTONIO WATSON,

           Defendant.
___________________________/

                     ORDER CONTINUING SENTENCING

      Upon consideration, Defendant’s Motion to Continue Sentencing (doc.

189) is granted. Sentencing for Defendant Antonio Watson is reset for 1:30 p.m.

on July 16, 2007, at the United States Courthouse in Tallahassee, Florida.

      SO ORDERED this 12th day of June, 2007.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
